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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS
__________________________________________
C.D., by and through her PARENTS and NEXT     )
FRIENDS, M.D. and P.D. and M.D. and P.D. for )
themselves,                                   )
                      Plaintiffs,             )
                                              )
    v.                                        )     Civ. Action No. 15-13617-FDS
                                              )
NATICK PUBLIC SCHOOL DISTRICT,                )
and BUREAU OF SPECIAL EDUCATION               )
APPEALS,                                      )
       Defendants.                            )
__________________________________________)

           ASSENTED-TO MOTION TO SEAL ADMINISTRATIVE RECORD

       Pursuant to Rule 5.3(B) and Rule 7.2 of the Local Rules of the United States District

Court for the District of Massachusetts, defendant Massachusetts Bureau of Special Education

Appeals (“BSEA”) respectfully moves to file under seal the administrative record, which

contains information identifying the full first and last name of the student (referred to in the

caption as “C.D.”), in order to protect the student’s privacy interests. Due to the voluminous

nature of the administrative record (which consists of almost 5,000 pages) and given the burden

that would result from redacting the administrative record, the BSEA requests that the Court

allow the BSEA to file the entire administrative record under seal. In accordance with Local

Rule 7.2, the BSEA will await the Court’s ruling on this motion, prior to filing the administrative

record with the Court.

       Pursuant to Rule 7.2, the BSEA further requests that the administrative record remain

sealed until the conclusion of the case, at which time the parties will arrange to retrieve the

administrative record from the Court.

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       Counsel for Plaintiffs and counsel for defendants Natick Public Schools have assented to

this motion.


                                                    BUREAU OF SPECIAL EDUCATION
                                                    APPEALS,

                                                    By its attorney,

                                                    MAURA HEALEY
                                                    ATTORNEY GENERAL

                                                    /s/ Iraida J. Alvarez__________________
                                                    Iraida J. Alvarez, BBO # 647521
                                                    Assistant Attorney General
                                                    Government Bureau
                                                    One Ashburton Place
                                                    Boston, Massachusetts 02108
                                                    (617) 963-2037

Dated: April 4, 2016

                 CERTIFICATION PURSUANT TO LOCAL RULE 7.1(A)(2)

       I certify that I conferred with counsel for Natick Public Schools and counsel for C.D. and
her parents prior to the filing of this motion, and both counsel assented to this motion.
                                                       /s/ Iraida J. Alvarez________________
                                                       Iraida J. Alvarez
                                                       Assistant Attorney General




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                                  CERTIFICATE OF SERVICE

         I hereby certify that the above motion was filed through the Electronic Case Filing (ECF)
system on April 4, 2016, and thus copies will be sent electronically to the registered participants
as identified on the Court’s Notice of Electronic Filing (NEF); paper copies will be served by
first-class mail, postage pre-paid, to those indicated on the NEF as non-registered participants.

                                                     /s/ Iraida J. Álvarez
                                                     Iraida J. Álvarez




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